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                                                                        DOCUMENT
                                                                        ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                            DOC #:
SOUTHERN DISTRICT OF NEW YORK                                           DATE FILED: 12/13/2023
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 FRUIT STREET HEALTH P.B.C, and                                 :
 LAURENCE N. GIRARD,                                            :
                                                                :
                                              Plaintiff,        :    23-CV-7996(VEC)
                                                                :
                            -against-                           :          ORDER
                                                                :
 QUEEN FUNDING, LLC; YEHUDA KLEIN; and :
 JOHN AND JANE DOE INVESTORS,                                   :
                                                                :
                                                                :
                                              Defendants. :
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VALERIE CAPRONI, United States District Judge:

        WHEREAS on December 12, 2023, the Court was notified that through the magistrate,

the parties have reached an agreement in principle resolving all issues;

        IT IS HEREBY ORDERED THAT all previously scheduled conferences and other

deadlines are CANCELLED.

        IT IS FURTHER ORDERED that this case is DISMISSED with prejudice and without

costs (including attorneys’ fees) to either party. The Clerk of Court is respectfully directed to

terminate all open motions and to CLOSE the case.

        Within 30 days of this order, the parties may apply to reopen this case. Any such

application must show good cause for holding the case open in light of the parties’ settlement

and must be filed within 30 days. Any request filed after 30 days or without a showing of good

cause may be denied solely on that basis.

        Additionally, if the parties wish for the Court to retain jurisdiction to enforce their

settlement agreement, they must submit within the same 30-day period: (1) their settlement

agreement to the Court in accordance with Rule 7.A of the Court’s Individual Practices and (2) a



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request that the Court issue an order expressly retaining jurisdiction to enforce the settlement

agreement. See Hendrickson v. United States, 791 F.3d 354 (2d Cir. 2015).

SO ORDERED.
                                                          ____
                                                            _ ________________  ____________
                                                                                   _
                                                      _________________________________
Date: December 13, 2023                                     VALERIE CAPRON
                                                                       CAPRONI    NI
      New York, NY                                        United States District Judge




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